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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            )                          Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a )                          Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             )                          Jointly Administered
                                      )
                        Debtors.      )                          Hearing Date: November 19, 2019 at 10:00 a.m.
                                                                 (Requested)
                                      )                          Objection Deadline: November 13, 2019 at 4:00 p.m.
                                                                 (Requested)

         MOTION OF DEBTORS FOR ORDER (I) AUTHORIZING RETENTION
    AND EMPLOYMENT OF CENTURION SERVICE GROUP, LLC, AS AUCTIONEER,
         (II) WAIVING COMPLIANCE WITH CERTAIN REQUIREMENTS OF
        LOCAL RULE 2016-2; AND (III) APPROVING SALE AND LIQUIDATION
        OF CERTAIN MEDICAL EQUIPMENT, FURNITURE AND INVENTORY

             The above captioned debtors and debtors in possession (the “Debtors”), by and through

their undersigned counsel, hereby file this motion (the “Motion”), pursuant to sections 327(a),

328(a), 330 and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002,

2014(a), 2016, 6004 and 6005 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rules 2014-1 and 2016-2 of the Local Rules of Bankruptcy Practice and Procedure

for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for

entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed

Order”), in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), (i) authorizing the

Debtors to employ and retain Centurion Service Group, LLC (“Centurion”) as auctioneer to the


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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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Debtors; (ii) waiving compliance with certain requirements of Local Rule 2016-2; and

(iii) approving the sale and liquidation of certain medical equipment, furniture and inventory (as

described further below, the “Auction Assets”) free and clear of all liens, claims and

encumbrances through Centurion. In support of this Motion, the Debtors rely on the Declaration

of Erik Tivin in Support of the Motion of Debtors for Order (I) Authorizing Retention and

Employment of Centurion Service Group, LLC, as Auctioneer, (II) Waiving Compliance with

Certain Requirements of Local Rule 2016-2; and (III) Approving Sale and Liquidation of Certain

Medical Equipment, Furniture and Inventory, a copy of which is attached hereto as Exhibit B

(the “Centurion Declaration”), as well as the Declaration of Allen Wilen in Support of First

Day Relief (the “First Day Declaration”), which is incorporated herein by reference. In further

support of this Motion, the Debtors respectfully represent as follows:

                                                 JURISDICTION

             1.          The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware dated as of February 29, 2012.

             2.          This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             3.          Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

             4.          Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final order

by the Court in connection with this matter to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.




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                                                 BACKGROUND

             5.          On June 30 and July 1, 2019 (the “Petition Date”), the Debtors commenced the

Chapter 11 Cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy

Code.

             6.          The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

             7.          No request for the appointment of a trustee or examiner has been made in the

Chapter 11 Cases.

             8.          On July 15, 2019, the Office of the United States Trustee appointed the Official

Committee of Unsecured Creditors of Center City Healthcare d/b/a Hahnemann University

Hospital, et al. (the “Committee”).

             9.          As detailed in the First Day Declaration, the Debtors’ operations primarily consist

of two hospitals in Philadelphia, Pennsylvania – Hahnemann University Hospital

(“Hahnemann”) and St. Christopher’s Hospital for Children (“St. Christopher’s”). As the

Court is aware, the Debtors are implementing an orderly closure of Hahnemann.

                                             THE AUCTION ASSETS

             10.         The Debtors own various medical equipment, furniture and inventory located at

230 North Broad Street in Philadelphia (the “Hahnemann Main Premises”), as well as the

Feinstein Building, Bobst Building and New College Building, and other real estate in in Center

City Philadelphia related to the Debtors’ operations at Hahnemann (collectively, the

“Hahnemann Auxiliary Premises”).




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             11.         As a result of the implementation of the closure of Hahnemann, the Debtors no

longer require the medical equipment, furniture or inventory at either the Hahnemann Main

Premises or the Hahnemann Auxiliary Premises (collectively, the “Auction Assets”).

             12.         The Debtors anticipate that the Auction Assets will include substantially all of the

equipment that Center City Healthcare, LLC acquired when the Debtors purchased Hahnemann

from Tenet Business Services Corporation (“Tenet”) in January, 2018, as set forth on Exhibit C

hereto.1 In addition to the Centurion Engagement Agreement (as defined below), for which

approval is sought herein, the Debtors have separately contracted with Centurion to inventory the

medical equipment, furniture and inventory at the Hahnemann Main Premises and the

Hahnemann Auxiliary Premises for a fixed fee, in order to prepare the list of the Auction Assets

that will be attached as Exhibit A to the Centurion Engagement Agreement after execution

thereof. Centurion will forgive the fee for this service if its retention is approved and it conducts

the auction contemplated herein.

             13.         Upon investigation, the Debtors have determined that the Auction Assets have

value such that a sale of the Auction Assets, for the benefit of the Debtors’ estates and creditors,

is worthwhile to pursue.

             14.         For avoidance of doubt, the Auction Assets do not include any assets related to

the operation of St. Christopher’s.

                                                RELIEF REQUESTED

             15.         Pursuant to sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy

Rules 2014, 2016 and 6005, the Debtors seek entry of an Order (i) authorizing the employment


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             Exhibit C sets forth the schedule of equipment transferred to Center City Healthcare, LLC as attached to
             the sale agreement with Tenet. The Debtors seek to sell substantially all of these assets to the extent still in
             the Debtors’ possession, as will be determined through completion of Centurion’s inventory.



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and retention of Centurion as auctioneer to sell the Auction Assets, pursuant to the terms and

conditions of the Auction Engagement Agreement dated as of October 29, 2019, a copy of which

is attached hereto as Exhibit D and incorporated by reference herein (the “Centurion

Engagement Agreement”); and (ii) granting a waiver of compliance with the information

requirements relating to compensation requests set forth in Local Rule 2016-2 to the extent

requested herein.

             16.         Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rules 6004 and

6005, the Debtors further seek entry of an order approving the sale of the Auction Assets free

and clear of liens, claims, encumbrances and other interests.

                                      THE RETENTION OF CENTURION

A.           Centurion’s Qualifications

             17.         Centurion is an experienced auctioneer that specializes in medical and hospital

equipment.

             18.         Centurion is the world’s largest medical auction house, with locations in Chicago,

Las Vegas, South Florida, and Dallas.

             19.         Centurion hosts live and timed auctions, selling over 6,000 pieces of surplus

medical equipment every month.

             20.         The Debtors believe that Centurion’s significant experience in this field makes it

is well-qualified to perform auctioneer services to facilitate the sale of hospital and medical

equipment owned by the Debtors’ estates.

B.           Compensation

             21.         The Debtors seek to employ Centurion to market and sell the Auction Assets.




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             22.         The terms of compensation proposed for Centurion are as follows2, subject to

approval of the Court:

                         a. Centurion will pay to the Debtors $2,042,500 as a guarantee of proceeds (the
                            “Guarantee”) within 48 hours after approval of the Centurion Engagement
                            Agreement by the Court.

                         b. Centurion shall hold the net proceeds from all auction sales (as defined in the
                            Centurion Engagement Agreement, the “Net Proceeds”), which shall exclude
                            any “Buyer’s Premium” (as defined below), in trust, and in a segregated
                            account, until disbursed pursuant to the terms of the Centurion Engagement
                            Agreement. Centurion shall disburse Net Proceeds in the following order of
                            priority:

                               i. Centurion will receive the first $2,450,000 from the Net Proceeds to
                                  reimburse it for the Guarantee and for all expenses;

                              ii. All Net Proceeds in excess of $2,450,000 shall be shared eighty-five
                                  percent (85%) to the Debtors and fifteen percent (15%) to Centurion.

                         c. Centurion may charge a premium (a “Buyer’s Premium”) of up to eighteen
                            percent (18%) of the amount of the purchase price for a given item of the
                            Auction Assets sold at the auction sale, to be paid by the purchasers thereof.
                            Such Buyer’s Premium shall accrue exclusively for the benefit of Centurion
                            and shall not be included in the Net Proceeds.

             23.         The Debtors require qualified professionals to render auctioneer services. As

noted above, Centurion has substantial expertise as an auctioneer and specializes in hospital and

medical equipment. Accordingly, the Debtors submit that Centurion is well qualified and best

suited to perform these services and to assist the Debtors in the Chapter 11 Cases.

C.           Waiver of Compliance with Requirements Regarding Time Entry Detail

             24.         As set forth above, the Debtors seek to compensate Centurion, as is customary for

auctioneers, on a percentage fee basis. The benefit to the Debtors of Centurion’s services could




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             The summary set forth herein is qualified in its entirety by the terms of the Centurion Engagement
             Agreement, and the terms of the Centurion Engagement Agreement shall control in the event of a conflict.



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not be measured merely by reference to the number of hours to be expended by Centurion’s

professionals in the performance of such services.

             25.         Because of Centurion’s expertise, commitment of resources to this engagement to

the exclusion of other possible employment, and the time that Centurion will devote to this

engagement, the Debtors request that the Court approve the compensation structure set forth in

the Centurion Engagement Agreement pursuant to section 328(a) of the Bankruptcy Code and

that the Court evaluate the final compensation and reimbursement of expenses in the Chapter 11

Cases for Centurion under the standards of section 328(a) of the Bankruptcy Code, rather than

under those of section 330 of the Bankruptcy Code.

             26.         Centurion will file with the Court a final fee application for allowance of its

compensation and reimbursement of its expenses with respect to services rendered in accordance

with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the

applicable guidelines for compensation and reimbursement of expenses established by the U.S.

Trustee (the “UST Guidelines”), and any applicable orders of the Court. However, the Debtors

are advised by Centurion that it is not the general practice of auctioneers to keep detailed time

records similar to those customarily kept by attorneys or to keep time records on a “project

category” basis. Furthermore, the proposed compensation structure provides for a calculation of

fees payable to Centurion based on the amount of sale proceeds realized.

             27.         Accordingly, the Debtors and Centurion request that Centurion not be required to

file or maintain time records in accordance with Local Rule 2016-2 and the UST Guidelines.

             28.         Centurion has informed the Debtors that it has not shared or agreed to share any

compensation to be paid by the Debtors with any other person, other than other principals and

employees of Centurion, in accordance with section 504 of the Bankruptcy Code.



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D.           Indemnification

             29.         The Centurion Engagement Agreement provides that the Debtors will indemnify

and hold harmless Centurion and its employees, agents, members and managers (the

“Indemnified Parties”), from any and all liability or defense costs, including, without limitation,

reasonable attorneys’ fees, arising out of or relating to any breach of the Centurion Engagement

Agreement by the Debtors or any intentional, reckless or grossly negligent actions by the

Debtors or their employees or agents concerning the Auction Assets or the Auction Sale (the

“Indemnification Provisions”).

             30.         The Indemnification Provisions are standard indemnification terms, both in

chapter 11 cases and outside chapter 11, and reflect the qualifications and limits on such terms

that are customary for Centurion. The Indemnification Provisions were fully negotiated between

the Debtors and Centurion at arm’s length and the Debtors respectfully submit that the

Indemnification Provisions are reasonable and in the best interests of the Debtors, their estates,

and creditors. Accordingly, as part of this Motion, the Debtors request that this Court approve the

Indemnification Provisions.

E.           Centurion’s Disinterestedness

             31.         To the best of the Debtors’ knowledge, and as disclosed herein and in the

Centurion Declaration: (i) Centurion is a “disinterested person” within the meaning of section

101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code and does

not hold or represent any interest adverse to the Debtors’ estates; and (ii) Centurion has no

connection to the Debtors, their creditors or related parties, except as may be disclosed in the

Centurion Declaration.




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             32.         Centurion will review its files against any updated Potential Interested Parties List

(as defined in the Centurion Declaration) received from the Debtors from time to time during the

pendency of the Chapter 11 Cases pursuant to the procedures described in the Centurion

Declaration. If any new relevant facts or relationships are discovered or arise in such review,

Centurion will use reasonable efforts to identify such further developments and will file

promptly a supplemental declaration where appropriate.

             33.         Centurion is not a creditor of the Debtors’ bankruptcy estates as of the Petition

Date.

                        THE COURT SHOULD APPROVE CENTURION’S RETENTION

             34.         Section 327(a) of the Bankruptcy Code provides that a debtor, subject to court

approval:

                         [M]ay employ one or more attorneys, accountants, appraisers,
                         auctioneers, or other professional persons, that do not hold or
                         represent an interest adverse to the estate, and that are disinterested
                         persons, to represent or assist the [debtor] in carrying out the
                         [debtor’s] duties under [the Bankruptcy Code].

11 U.S.C. § 327(a).

             35.         Section 328(a) of the Bankruptcy Code provides, in relevant part, that:

                         The [debtor] . . . with the court’s approval, may employ or
                         authorize the employment of a professional person under section
                         327 . . . of this title . . . on any reasonable terms and conditions of
                         employment, including on a retainer, on an hourly basis, on a fixed
                         or percentage fee basis, or on a contingent fee basis.
                         Notwithstanding such terms and conditions, the court may allow
                         compensation different from the compensation provide under such
                         terms and conditions after the conclusion of such employment, if
                         such terms and conditions prove to have been improvident in light
                         of developments not capable of being anticipated at the time of the
                         fixing of such terms and conditions.

11 U.S.C. § 328(a).



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             36.         In addition, Bankruptcy Rule 2014(a) requires that an application for retention

include:

                         [S]pecific facts showing the necessity for the employment, the
                         name of the [firm] to be employed, the reasons for the selection,
                         the professional services to be rendered, any proposed arrangement
                         for compensation, and, to the best of the applicant’s knowledge, all
                         of the [firm’s] connections with the debtor, creditors, any other
                         party in interest, their respective attorneys and accountants, the
                         United States trustee, or any person employed in the office of the
                         United States trustee.

Fed. R. Bankr. P. 2014(a).

             37.         The resources, capabilities, and experience of Centurion as an auctioneer

specializing in hospital and medical equipment qualify them to provide auctioneer services for

the Debtors in the Chapter 11 Cases. Centurion has extensive experience and an excellent

reputation for providing high quality auctioneer services

             38.         As stated in the Centurion Declaration, Centurion is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

and has no connection to the Debtors, their creditors or related parties except as may be disclosed

in the Centurion Declaration. The Debtors also believe that the compensation structure set forth

in the Centurion Engagement Agreement is reasonable and should be approved by the Court

under section 328(a) of the Bankruptcy Code in light of: (a) the nature of services to be provided

by Centurion; (b) Centurion’s substantial experience; and (c) fee and expenses provisions

typically utilized by Centurion and other leading auctioneer firms, which do not bill their time on

an hourly basis and generally are compensated on a transactional basis.




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             39.         Moreover, as noted above, the Indemnification Provisions are reasonable, as they

only arise on account of a breach of the Centurion Engagement Agreement by the Debtors, or

any intentional, reckless or grossly negligent actions of the Debtors.

             40.         For the foregoing reasons, the Debtors submit that the retention of Centurion as

auctioneer is warranted and satisfies the requirements of sections 327(a) and 328(a) of the

Bankruptcy Code and Bankruptcy Rule 2014(a).

                            THE COURT SHOULD AUTHORIZE THE DEBTORS
                                   TO SELL THE AUCTION ASSETS

             41.         Section 363(b) of the Bankruptcy Code provides that a debtor, “after notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” In general, a debtor may engage in transactions outside the ordinary course of its

business where the transaction represents an exercise of the debtor’s sound business judgment.

See, e.g., In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983); In re Montgomery Ward

Holding Corp., 242 B.R. 147, 153 (D. Del. 1999); In re Del. & Hudson Ry. Co., 124 B.R. 169,

176 (D. Del. 1991) (concluding that the Third Circuit adopted the “sound business purpose”

test).

             42.         In determining whether to approve a transaction, the Court should consider the

following: (a) whether a sound business justification exists for the transaction; (b) whether

accurate and reasonable notice of the transaction was given to interested parties; (c) whether the

transaction will produce a fair and reasonable price for the property; and (d) whether the parties

have acted in good faith. See, e.g., In re Del. & Hudson Ry. Co., 124 B.R. at 176; In re

Titusville Country Club, 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991).

             43.         Here, a sound business justification exists for the sale of the Auction Assets on

the terms set forth in the Centurion Engagement Agreement. The Debtors have stopped treating


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patients at Hahnemann and thus no longer have any need for the Auction Assets to operate their

businesses. The Debtors have thus concluded, in a sound exercise of their business judgment,

that the sale of the Auction Assets in the manner described herein will maximize the value of the

Auction Assets for the benefit of the Debtors’ estates and creditors.

             44.         Furthermore, accurate and reasonable notice of the sale of the Auction Assets will

be given to interested parties. Centurion is an experienced auctioneer that specializes in medical

equipment of the sort included in the Auction Assets. Centurion will market its auctions to a

variety of parties that, based on its experience, are likely be interested in purchasing the Auction

Assets.

             45.         Finally, the Debtors and Centurion negotiated the terms of the Centurion

Engagement Agreement in good faith and at arms’ length, and Centurion will likewise conduct

the sale process for the Auction Assets in a manner that ensures that all transactions are arms-

length and in good faith. At the conclusion of the process, the Debtors will file with the Court a

report of the results of the auction sales, including the net proceeds realized by the estates.

                          REQUEST TO SELL THE ASSETS FREE AND CLEAR OF
                        LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS

             46.         The Debtors further submit that it is appropriate that the Auction Assets be sold

free and clear of liens, claims, encumbrances and other interests (collectively, “Interests”),

pursuant to section 363(f) of the Bankruptcy Code. Section 363(f) of the Bankruptcy Code

provides as follows:

                         The trustee may sell property under subsection (b) or (c) of this
                         section free and clear of any interest in such property of an entity
                         other than the estate, only if—

                                (1)     applicable non-bankruptcy law permits sale of such property free
                                        and clear of such interest;

                                (2)     such entity consents;

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                                (3)    such interest is a lien and the price at which such property is to be
                                       sold is greater than the aggregate value of all liens on such
                                       property;

                                (4)    such interest is in bona fide dispute; or

                                (5)    such entity could be compelled, in a legal or equitable proceeding,
                                       to accept a money satisfaction of such interest.

11 U.S.C. §363(f).

             47.         The Debtors should be authorized to sell the Auction Assets free and clear of all

Interests, with such Interests attaching to the proceeds of sale with the same validity and priority,

and subject to the same defenses, that such Interests had against the Auction Assets.

             48.         The only known Interest in or on any of the Auction Assets is the blanket lien

held by the Debtors’ pre- and post-petition secured lender, MidCap Funding IV Trust, which has

consented to the relief requested herein. To the extent there are any other Interests with respect

to the Auction Assets, the Debtors believe that they would satisfy at least one of the five

conditions of section 363(f), and that any such Interest would be adequately protected by

attachment to the sale proceeds, subject to any claims and defenses that the Debtors may possess

with respect thereto. The Debtors further believe that any such parties holding an Interest on or

in the Auction Assets could be compelled to accept a monetary satisfaction of such Interests,

satisfying section 363(f)(5) of the Bankruptcy Code. As such, the Debtors believe that the

Auction Assets may be sold free and clear of any and all Interests.

                                                     NOTICE

             49.         The Debtors have provided notice of the filing of the Motion to: (i) the Office of

the United States Trustee; (ii) counsel to the Committee; (iii) counsel to MidCap Funding IV

Trust; (iv) Drexel University d/b/a Drexel University College of Medicine; (v) the Debtors’

unions; (vi) the Internal Revenue Service; (vii) the United States Attorney for the District of


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Delaware; (viii) the United States Department of Justice; (ix) the Pennsylvania Attorney

General’s Office; (x) the Pennsylvania Department of Health; (xi) the City of Philadelphia;

(xii) all parties known to the Debtors who hold any liens or security interests in the Debtors’

assets who have filed UCC-1 financing statements against the Debtors or who, to the Debtors’

knowledge, have asserted any liens on any of the Debtors’ assets; and (xiii) any party that has

requested notice pursuant to Bankruptcy Rule 2002.


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             WHEREFORE, the Debtors respectfully request the entry of an order, substantially in

the form of the Proposed Order: (i) authorizing the Debtors to employ and retain Centurion as

auctioneer to the Debtors; (ii) waiving compliance with certain requirements of Local Rule 2016-

2; and (iii) approving the sale and liquidation of the Auction Assets free and clear of all liens,

claims and encumbrances through Centurion; and (iv) granting such other and further relief as

the Court deems warranted.


Dated: October 30, 2019                         SAUL EWING ARNSTEIN & LEHR LLP


                                             By: /s/ Aaron S. Applebaum
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                                                 Monique B. DiSabatino (DE Bar No. 6027)
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